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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF ARKANSAS
                                  CENTRAL DIVISION


UNITED STATES OF AMERICA                                                               PLAINTIFF

v.                                Case No. 4:18-cr-00235 KGB

WILLIE WELLS, III                                                                    DEFENDANT

                              FINAL ORDER OF FORFEITURE

        Before the Court is the United States’ motion for final order of forfeiture (Dkt. No. 97).

On January 24, 2020, this Court entered a preliminary order of forfeiture, ordering defendant

Willie Wells, III to forfeit his interest in one Glock, Model 31, .357 caliber semi-automatic pistol,

bearing serial number CSC223US; and assorted ammunition (collectively “property subject to

forfeiture”).

        The United States published notice of this forfeiture and the United States’ intent to dispose

of the property in accordance with the law as specified in the preliminary order. See Advertisement

Certification (Dkt. No. 97-1). The United States posted its notice on the forfeiture website, internet

address of www.forfeiture.gov for 30 consecutive days beginning on January 28, 2020, and ending

on February 26, 2020. Further, the United States also made reasonable efforts to identify and give

direct notice of this forfeiture to all persons who reasonably appear to have standing to contest this

forfeiture in an ancillary proceeding. No one has filed a claim to the property subject to forfeiture,

and the time for filing claims has expired.

        Now the United States petitions the Court to enter a final order of forfeiture, which will

vest all right, title, and interest in the United States. The United States also asks this Court to

authorize the United States to dispose of the property according to law.
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        It is hereby ordered that the property subject to forfeiture is forfeited to the United States.

It is further ordered that all right, title, and interest in the property subject to forfeiture is hereby

vested in the United States of America and shall be disposed of according to law. This Court shall

retain jurisdiction in the case for the purpose of enforcing this Order.

        It is so ordered this 5th day of October, 2020.


                                                ___________________________________
                                                Kristine G. Baker
                                                United States District Judge




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